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         EXHIBIT A
11/16/23, 10:19 AMCase: 1:24-cv-00464 Document #: 1-1 Filed: 01/18/24
                                                              Assignment Page 2 of 20 PageID #:14


                                                  PATENT ASSIGNMENT COVER SHEET

  Electronic Version v1.1
  Stylesheet Version v1.2

    SUBMISSION TYPE:                                         NEW ASSIGNMENT

    NATURE OF CONVEYANCE:                                    ASSIGNMENT

    CONVEYING PARTY DATA


                                                      Name                                                                      Execution Date
     HAIJIN CHENG                                                                                                11/15/2023


    RECEIVING PARTY DATA


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                                 CONSTRUCTION PROJECT" NORTH OF JINYINTAN AVENUE AND SOUTH OF
                                 YINTAN ROAD, JIANGJUN ROAD STREET, DONGXIHU DISTRICT
     City:                       WUHAN CITY
     State/Country:              CHINA


    PROPERTY NUMBERS Total: 2


                 Property Type                                                               Number
     Patent Number:                               D993734
     Application Number:                          29889387


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    ATTORNEY DOCKET NUMBER:                                  136888-0001

    NAME OF SUBMITTER:                                       YALEI SUN

    Signature:                                               /Yalei Sun/

    Date:                                                    11/16/2023

file:///C:/Users/mp098823/AppData/Local/Microsoft/Windows/INetCache/Content.Outlook/Z884D0A0/EASPAT8280900.html                                  1/2
11/16/23, 10:19 AMCase: 1:24-cv-00464 Document #: 1-1 Filed: 01/18/24
                                                              Assignment Page 3 of 20 PageID #:15

    Total Attachments: 1
    source=136888-0001 Assignment#page1.tif

    RECEIPT INFORMATION


    EPAS ID:                            PAT8280900
    Receipt Date:                       11/16/2023




file:///C:/Users/mp098823/AppData/Local/Microsoft/Windows/INetCache/Content.Outlook/Z884D0A0/EASPAT8280900.html   2/2
     Case: 1:24-cv-00464 Document #: 1-1 Filed: 01/18/24 Page 4 of 20 PageID #:16




NOVEMBER 17, 2023
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1450, ALEXANDRIA, VA 22313.


RECORDATION DATE: 11/16/2023                   REEL/FRAME: 065585/0017
                                               NUMBER OF PAGES: 3

BRIEF: ASSIGNMENT OF ASSIGNORS INTEREST (SEE DOCUMENT FOR DETAILS).

DOCKET NUMBER:      136888-0001

ASSIGNOR:
  CHENG, HAIJIN                                DOC DATE: 11/15/2023

ASSIGNEE:
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    CONVENTION AND EXHIBITION CENTER
    CONSTRUCTION PROJECT" NORTH OF
    JINYINTAN AVENUE AND SOUTH OF
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  WUHAN CITY, CHINA

APPLICATION NUMBER: 29889387                   FILING DATE: 04/12/2023
PATENT NUMBER: D993734                         ISSUE DATE: 08/01/2023
TITLE: ELECTRIC DRILL PLATE CUTTER
065585/0017 Case:
             PAGE 1:24-cv-00464
                  2             Document #: 1-1 Filed: 01/18/24 Page 5 of 20 PageID #:17



      APPLICATION NUMBER: 29889387                   FILING DATE: 04/12/2023
      PATENT NUMBER: D993734                         ISSUE DATE: 08/01/2023
      TITLE: ELECTRIC DRILL PLATE CUTTER



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      PUBLIC RECORDS DIVISION
Case: 1:24-cv-00464 Document #: 1-1 Filed: 01/18/24 Page 6 of 20 PageID #:18




                   To Promote the Progress                                   of Science and Useful Arts


                                              The Director
                     of the United States Patent and Trademark Office has received
                      an application for a patent for a new, original, and ornamental
                       design for an article of manufacture. The title and description
                       of the design are enclosed. The requirements of law have been
                      complied with, and it has been determined that a patent on the
                                   design shall be granted under the law.

                                           Therefore, this United States




                   grants to the person(s) having title to this patent the right to exclude others from making,
                   using, offering for sale, or selling the design throughout the United States of America or
                   importing the design into the United States of America for the term set forth by law.




                          Director of the United States Patent and Trademark Office
   Case: 1:24-cv-00464 Document #: 1-1 Filed: 01/18/24 Page 7 of 20 PageID #:19




Maintenance Fee Notice
No maintenance fees are required in design patents.


Patent Term Notice
If the application for this patent was filed on or after May 13, 2015, the term of this patent is
15 years from the date of grant of this patent, subject to any disclaimer under 35 U.S.C. 253.
If the application for this patent was filed prior to May 13, 2015, the term of this patent is
14 years from the date of grant of this patent, subject to any disclaimer under 35 U.S.C. 253.


Form PTO-379C (Rev 09/17)
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                                                                                                        US00D993734S


(12)   United States Design Patent (10) Patent No.:                                                                      US D993,734 S
       Cheng                                                                       (45) Date of Patent:                      ** Aug. 1, 2023

(54)    ELECTRIC DRILL PLATE CUTTER                                                    D328,842 S * 8/1992        Whitman ......................... D8/64
                                                                                       D337,037 S * 7/1993        Yelton .............................. D8/64
(71)    Applicant: Haijin Cheng, Chengde (CN)                                          D346,104 S * 4/1994        Yelton .............................. D8/64
                                                                                       6,154,967 A * 12/2000      Rogala .................... B26B 29/00
                                                                                                                                                       30/294
(72)    Inventor:     Haijin Cheng, Chengde (CN)                                       D501,491 S *      2/2005   Governo ...................... D15/127
                                                                                       9,027,542 B2 *    5/2015   Ronzello, Sr. ........... B28D 7/02
(**)    Term:         15 Years                                                                                                                     125/13.01
                                                                                       9,414,653 B1 *    8/2016   Morton ................ B23D 45/003
(21)    Appl. No.: 29/889,387                                                          D814,899 S        4/2018   Suzuki et al.
                                                                                       D842,063 S *      3/2019   DeBellis .............. B65H 75/406
(22)    Filed:     Apr. 12, 2023                                                                                                                        D8/70
                                                                                                          (Continued)
(51)    LOC (14) Cl. ............................................... 08-03
(52)    U.S. Cl.                                                                Primary Examiner — Austin Murphy
        USPC ................................................. D8/66; D8/70     (74) Attorney, Agent, or Firm — Kunzler Bean &
(58)    Field of Classification Search                                          Adamson, PC; Michael Bartholomew
        USPC .... D8/69, 68, 67, 66, 64, 61, 70; 83/698.41,
                     83/747, 166.3, 374, 373, 375, 376, 391,                    (57)                        CLAIM
                              83/377, 390, 388, 389; 125/13.01;                 The ornamental design for an electric drill plate cutter, as
                                                                   144/218      shown and described.
        CPC .... B27B 9/00; B27B 9/02; B27B 5/02; B27B
                        5/18; B27B 33/08; B28D 1/04; B28D
                                                                                                         DESCRIPTION
                                                      1/045; B23D 45/00
        See application file for complete search history.
                                                                                FIG. 1 is a front, right and top perspective view of an electric
(56)                     References Cited                                       drill plate cutter, showing my design.
                                                                                FIG. 2 is a rear, left and bottom perspective view thereof.
                  U.S. PATENT DOCUMENTS                                         FIG. 3 is a front elevation view thereof.
                                                                                FIG. 4 is a rear elevation view thereof.
       2,700,256 A *       1/1955 Lewis ................. E01C 23/0933          FIG. 5 is a left side elevation view thereof.
                                                                     451/344    FIG. 6 is a right side elevation view thereof.
       3,270,785 A *       9/1966 Molitor ..................... B27B 9/00
                                                                                FIG. 7 is a top plan view thereof.
                                                                       83/489
       3,708,880 A *       1/1973 Norfleet .................. B44C 7/027        FIG. 8 is a bottom plan view thereof.
                                                                      15/93.1   FIG. 9 is an enlarged view of detail 9 in FIG. 1.
       4,769,201 A *       9/1988 Chiuminatta ....... B28B 11/0863              FIG. 10 is an enlarged view of detail 10 in FIG. 1; and,
                                                                     425/142    FIG. 11 is an enlarged view of detail 11 in FIG. 2.
       4,800,650 A *       1/1989 Johansson ............ B23D 61/025            The broken lines depict portions of the electric drill plate
                                                                     451/342    cutter that form no part of the claimed design. The dot-dash
       4,976,034 A *      12/1990 Whitman ............. B23D 45/165
                                                                       30/388   broken lines in FIGS. 1, 2, and 9-11 depict the boundaries of
       5,056,499 A *      10/1991 Chiuminatta ........... B24B 19/02            the enlargements that form no part of the claimed design.
                                                                       125/14
       D323,100 S *        1/1992 Pastore ............................ D8/62                    1 Claim, 11 Drawing Sheets
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                                                        125/16.03
* cited by examiner
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 Case: 1:24-cv-00464 Document #: 1-1 Filed: 01/18/24 Page 13 of 20 PageID #:25


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 Case: 1:24-cv-00464 Document #: 1-1 Filed: 01/18/24 Page 15 of 20 PageID #:27


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 Case: 1:24-cv-00464 Document #: 1-1 Filed: 01/18/24 Page 18 of 20 PageID #:30


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 Case: 1:24-cv-00464 Document #: 1-1 Filed: 01/18/24 Page 19 of 20 PageID #:31


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